Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 1 of 24 PageID #: 182
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 2 of 24 PageID #: 183
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 3 of 24 PageID #: 184
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 4 of 24 PageID #: 185
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 5 of 24 PageID #: 186
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 6 of 24 PageID #: 187
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 7 of 24 PageID #: 188
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 8 of 24 PageID #: 189
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 9 of 24 PageID #: 190
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 10 of 24 PageID #: 191
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 11 of 24 PageID #: 192
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 12 of 24 PageID #: 193
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 13 of 24 PageID #: 194
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 14 of 24 PageID #: 195
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 15 of 24 PageID #: 196
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 16 of 24 PageID #: 197
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 17 of 24 PageID #: 198
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 18 of 24 PageID #: 199
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 19 of 24 PageID #: 200
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 20 of 24 PageID #: 201
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 21 of 24 PageID #: 202
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 22 of 24 PageID #: 203
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 23 of 24 PageID #: 204
Case 1:08-cr-00010-GNS Document 88 Filed 09/30/08 Page 24 of 24 PageID #: 205
